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                     EXHIBIT A
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                                 Wednesday, January 24, 2024

Alan M. Buie, Esq.
United States Attorney’s Office for the Western District of Texas
816 Congress Ave. # 1000
Austin, TX 78701
Via Email: Alan.Buie@usdoj.gov

Re: United States v. Natin Paul, No. 23-CR-100-DAE

Dear Mr. Buie:

       I write to follow up in part on our conversation of Friday, January 19, 2024. In
particular, I write regarding the discovery the government has yet to produce in this matter,
which I understand to be:
               •   The Access database containing information derived from bank statements for
                   more than 700 bank accounts;
               •   The raw bank statements from the more than 700 accounts that were used to
                   populate the Access database;
               •   The documents the government currently has in Relativity format, which
                   includes somewhere between 4 and 4.5 million documents;
               •   A copy (from the taint team) of the Western Digital My Passport Ultra
                   Storage Device, serial number WX1 1A56A2KP2, which was the subject of
                   the May 23, 2019 search warrant;
               •   Any remaining grand jury transcripts, including the indictment presentation;
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               •   Documentation regarding the FBI’s human source; and
               •   Any remaining 302s, notes, or other witness materials.
       If there is other outstanding discovery, please let me know.
       Please produce all of this discovery at your earliest convenience. Please let me know if
you need anything else from me to start this process, including any data storage devices (e.g.,
hard drives), etc. Given the request for the hard drive from the taint team, please feel free to pass
this correspondence on to the taint team or otherwise make the appropriate introduction. Please
let me know when we can expect this production to be complete.
       If you have any questions or concerns, please do not hesitate to ask.


                               Sincerely,


                               E. G. Morris
                               EGM/mca
